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     PAUL GARVEY
 6   dba Garvey Brothers Vineyard Management Company
 7

 8                                UNITED STATES BANKRUPTCY COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA

10   In re                                                Case No. 17-10065-AJ-11
                                                          (Jointly Administered)
11
     SULLIVAN VINEYARDS CORPORATION,
12                                                        Chapter 11
             Debtor.
13                                                        NOTICE OF APPEARANCE AND REQUEST
                                                          SPECIAL NOTICE
14

15           PLEASE TAKE NOTICE that Reno F.R. Fernandez III of Macdonald Fernandez LLP,
16   hereby enters his appearance as counsel for Paul Garvey, dba Garvey Brothers Vineyard
17   Management Company, and requests that all notices given or required to be given and all papers
18   served or required to be served in this case including, in accordance with Rules 2002(a)(2), (3), and
19   (7), and 9007 of the Bankruptcy Rules, and Sections 102(1), and 342(a), and 1009(b) of the
20   Bankruptcy Code, be provided to and served upon its counsel at the following addresses and
21   telephone numbers:                                   Reno F.R. Fernandez III Esq.
                                                          Macdonald Fernandez LLP
22                                                        221 Sansome Street, Third Floor
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23                                                        Telephone: (415) 362-0449
                                                          Facsimile: (415) 394-5544
24                                                        Email: reno@macfern.com
25   Dated: July 24, 2017                         MACDONALD FERNANDEZ LLP
26
                                                  By:     /s/ Reno F.R. Fernandez III
27                                                      Reno F.R. Fernandez III, Attorneys for
                                                        Creditor, PAUL GARVEY, dba Garvey Brothers
28                                                      Vineyard Management Company

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